Case 2:O2-cr-20428-.]DB Document 233 Filed 06/08/05 Page 1 of 2 Page|D 259

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
Western

UNITED STATES OF AMERICA,

 

Plaintiff,
vs. Case No. 2:02cr20428-B

Miche]le R. Eggleston

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
lt now appears that the defendant has complied with the requirements of said bond and orders of
this Court.
IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $500.00,
payable to Louise Thomas Love at 4392 French Market Circle East, Memphis, TN 38141 in full reidnd

of the cash appearance bond posted herein.

nit d States District Judge\
/ J. Da ieIBreen
Date: (¢ lk ql 03

Approved.
Robert R. Di Trolio, Clerk of Court

BY\Q?L¢¢£/€“LM/&A/G/

Depu Cleri/d

 

i'r\ls downward Q-~»- m ‘ ~ "- »‘ ' ' '
\ erne. uo on we .ioc»<or Sooet fp '.".r,:mpi}ance

aim Hule a;=- ami/or 32(£:)) FHCrP on f / f(:"`S,

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 233 in
case 2:02-CR-20428 Was distributed by faX, mail, or direct printing on
.lune 9, 2005 to the parties listedl

 

 

Camille Reese Mcl\/lullen
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

